Case 2:16-cv-08684-SVW-AFM Document 206 Filed 05/27/19 Page 1 of 24 Page ID #:5657
Case 2:16-cv-08684-SVW-AFM Document 206 Filed 05/27/19 Page 2 of 24 Page ID #:5658
Case 2:16-cv-08684-SVW-AFM Document 206 Filed 05/27/19 Page 3 of 24 Page ID #:5659
Case 2:16-cv-08684-SVW-AFM Document 206 Filed 05/27/19 Page 4 of 24 Page ID #:5660
Case 2:16-cv-08684-SVW-AFM Document 206 Filed 05/27/19 Page 5 of 24 Page ID #:5661
Case 2:16-cv-08684-SVW-AFM Document 206 Filed 05/27/19 Page 6 of 24 Page ID #:5662
Case 2:16-cv-08684-SVW-AFM Document 206 Filed 05/27/19 Page 7 of 24 Page ID #:5663
Case 2:16-cv-08684-SVW-AFM Document 206 Filed 05/27/19 Page 8 of 24 Page ID #:5664
Case 2:16-cv-08684-SVW-AFM Document 206 Filed 05/27/19 Page 9 of 24 Page ID #:5665
Case 2:16-cv-08684-SVW-AFM Document 206 Filed 05/27/19 Page 10 of 24 Page ID
                                 #:5666
Case 2:16-cv-08684-SVW-AFM Document 206 Filed 05/27/19 Page 11 of 24 Page ID
                                 #:5667
Case 2:16-cv-08684-SVW-AFM Document 206 Filed 05/27/19 Page 12 of 24 Page ID
                                 #:5668
Case 2:16-cv-08684-SVW-AFM Document 206 Filed 05/27/19 Page 13 of 24 Page ID
                                 #:5669
Case 2:16-cv-08684-SVW-AFM Document 206 Filed 05/27/19 Page 14 of 24 Page ID
                                 #:5670
Case 2:16-cv-08684-SVW-AFM Document 206 Filed 05/27/19 Page 15 of 24 Page ID
                                 #:5671
Case 2:16-cv-08684-SVW-AFM Document 206 Filed 05/27/19 Page 16 of 24 Page ID
                                 #:5672
Case 2:16-cv-08684-SVW-AFM Document 206 Filed 05/27/19 Page 17 of 24 Page ID
                                 #:5673
Case 2:16-cv-08684-SVW-AFM Document 206 Filed 05/27/19 Page 18 of 24 Page ID
                                 #:5674
Case 2:16-cv-08684-SVW-AFM Document 206 Filed 05/27/19 Page 19 of 24 Page ID
                                 #:5675
Case 2:16-cv-08684-SVW-AFM Document 206 Filed 05/27/19 Page 20 of 24 Page ID
                                 #:5676
Case 2:16-cv-08684-SVW-AFM Document 206 Filed 05/27/19 Page 21 of 24 Page ID
                                 #:5677
Case 2:16-cv-08684-SVW-AFM Document 206 Filed 05/27/19 Page 22 of 24 Page ID
                                 #:5678
Case 2:16-cv-08684-SVW-AFM Document 206 Filed 05/27/19 Page 23 of 24 Page ID
                                 #:5679
Case 2:16-cv-08684-SVW-AFM Document 206 Filed 05/27/19 Page 24 of 24 Page ID
                                 #:5680
